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                           UNITED STATES DISTRICT COURT​
                          SOUTHERN DISTRICT OF NEW YORK




 Brett Douglas McDowell,


                    Movant,                         Case No. 1:24-cv-10049


 v.


 Lively v. Wayfarer Studios LLC, et al.,




NOTICE OF CLARIFICATION


Movant respectfully submits this clarification to correct an inadvertent implication in the

addendum filed June 23, 2025.


The sentence referencing “Your Honor’s brother, director Doug Liman, collaborates with

Lionsgate on Chaos Walking and A Simple Favor” was not intended to suggest that Mr. Liman

was involved in A Simple Favor. To clarify: Doug Liman collaborates with Lionsgate on films

such as Chaos Walking. Lionsgate separately produced A Simple Favor, which is referenced in

the context of broader 3 Arts/Lionsgate patterns.


This clarification does not alter the underlying argument regarding appearance of partiality under

28 U.S.C. § 455.


Respectfully submitted,
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/s/ Brett Douglas McDowell​

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Dated: June 24, 2025
